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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

BNSF Railway Company,                           )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )        No. 21-cv-3072
                                                )
Town of Cicero, Illinois,                       )
                                                )
       Defendant.                               )


                    PLAINTIFF’S MOTION FOR PROTECTIVE ORDER

       BNSF brought suit against Cicero and subsequently filed a Motion for Temporary

Restraining Order and Preliminary Injunction (“Motion”) in response to the Town of Cicero’s

threat to shut off sewer service to BNSF’s railroad hub on July 19, 2021, thereby requiring it “to

be vacated” as “a hazard to health” because BNSF objected to Cicero’s adoption and enforcement

of a discriminatory ordinance requiring only railroads to pay an exorbitant $350 per acre per month

for sewer use.

       On June 23, 2021, the Court entered an Order, in part, requiring that “[a]ny discovery

requests for the purpose of the pending motion must be proportionate to the needs of the case at

this early stage.” Dkt. 21. Cicero has ignored the Court’s Order and propounded discovery that is

neither relevant to, nor proportionate to the needs of, this case, much less the pending Motion.

Specifically, Cicero has served BNSF with interrogatories and requests for production that demand

information about, and “[a]ny and all documents relating to” all construction, maintenance, repairs,

or restorations, any related government permits, and any environmental studies with respect to the

Cicero railyard, within the past ten years. Cicero also demands information about any incidences

of flooding at the railyard (with no time limit whatsoever), and any documents relating to

incidences of flooding or any other inadequate functioning of the railyard’s water systems (within
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the past ten years). Finally, Cicero demands to know BNSF’s sewer and water rates for all facilities

in the Chicago metropolitan area. See Exhibit A (The Town of Cicero’s First Set of Interrogatories

to BNSF); Exhibit B (The Town of Cicero’s First Set of Requests for Production to BNSF).

       These requests are not relevant to BNSF’s Motion, which will require an assessment of

whether BNSF is likely to succeed on the merits, whether BNSF is likely to suffer irreparable harm

in the absence of preliminary relief, whether the balance of equities tips in BNSF’s favor, and

whether an injunction is in the public interest (the “Winter factors”). See Winter v. NRDC, 555

U.S. 7, 20 (2008). In support of its Motion, BNSF argues that it is overwhelmingly likely to

succeed on the merits because the Ordinance is preempted by the ICC Termination Act of 1995

(“ICCTA”), or alternatively the Railroad Revitalization and Regulatory Reform Act of 1976 (“4-

R Act”), because it implements a “fee” or “tax” that discriminates against rail. See Memorandum

or Law in Support of Motion for Temporary Restraining Order and Preliminary Injunction. Dkt.

13 at 8-12. BNSF’s Motion explains that the Town of Cicero’s Sewer Rate Ordinance

discriminates against BNSF in violation of federal law because the Ordinance plainly requires

BNSF to pay an exorbitant $350 per acre per month for sewer use, while calculating sewer bills

for other local commercial and industrial users within Cicero based on actual water usage.

       The Town of Cicero’s discovery requests are entirely irrelevant because, at most, they seek

information that hypothetically could justify an alternative ordinance that charges railroads more

based on an increased burden on the Town’s sewer system (i.e., due to the maintenance of property

or frequency of flooding). But the text of the Ordinance at issue here does not impose an increased

charge on users who overburden the sewer system on that basis; it imposes a heightened,

burdensome, and discriminatory rate on railroads, and railroads alone. It is not relevant to this

Court’s evaluation of BNSF’s Motion whether Cicero could have imagined or enacted a different

ordinance based on the factors it seeks to explore in its discovery requests.

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       BNSF further addresses the remaining Winter factors by arguing that it faces irreparable

injuries in the form of business disruption, loss of goodwill, continued violations of its

Constitutional rights, and impairment of its property rights. Id. at 12-14. BNSF also argues that

the equities and public interest weigh in its favor where the supremacy of federal law is vindicated.

Id. at 14-15. Cicero’s discovery requests do not address any of the arguments asserted by BNSF

in support of the Motion and are thus wholly irrelevant to the issues present at this early stage of

the case.

       In addition to the fact that the requests are irrelevant, they are disproportionate to the needs

of this case and overly burdensome. Cicero seeks information related to actions that BNSF has

taken with respect to the Railyard over the last 10 years, much of which is unrelated to BNSF’s

sewer use. For example, Request for Production No. 1 seeks “[a]ny and all documents relating to

any construction, maintenance, repairs, or restorations performed” within the last decade. See Ex.

B (RFP No. 1). That request, and others like it, are neither relevant nor proportional to the needs

of the case.

I.     BACKGROUND

       The Town of Cicero served the attached Interrogatories and Requests for Production on

Wednesday, June 23, 2021, at approximately 8:55 p.m. After reviewing Cicero’s discovery,

counsel for BNSF responded on Friday, June 24, explaining BNSF’s position that the requests are

irrelevant to the claims in this case and are not proportional to the needs of the case and requesting

to meet and confer if Cicero would not withdraw the requests. The parties met and conferred on

Monday, June 28. Despite conferring in good faith, the parties were unable to resolve the dispute

over Cicero’s discovery requests. Cicero’s counsel maintained that the discovery is relevant to the

Town’s position because it could show that the ordinance does not have a discriminatory effect

and therefore BNSF has no damages. While Cicero’s counsel was willing to consider narrowing


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their requests, because the requests were wholly irrelevant to the Motion, BNSF did not see a way

to the limit the requests. BNSF filed the instant motion for protective order the following day, on

Tuesday, June 29.

II.     ARGUMENT

        Good cause exists to issue a protective order against Cicero’s discovery requests because

Cicero seeks information is that is neither relevant to, nor proportional to the needs of, this case—

especially not at this early stage of the litigation. See Fed. R. Civ. P. 26(b)(1). A court may issue

a protective order, “for good cause,” to protect a party from “annoyance, embarrassment,

oppression, or undue burden or expense[.]” See Fed. R. Civ. P. 26(c)(1). The movant bears the

burden of showing good cause why discovery should be limited “by a particular and specific

demonstration of fact.” Cabrini-Green Local Advisory Council v. Chicago Hous. Auth., 13 CV

3642, 2014 WL 2867312, at *2 (N.D. Ill. June 24, 2014) (internal citations omitted) (finding that

“allowing broader discovery at this point in the litigation would be an undue burden or expense”).

        A.     Cicero seeks information that is neither relevant to, nor proportional to the
               needs of, BNSF’s Motion and the early stages of this case.

        Through five requests for production and five interrogatories, Cicero seeks broad discovery

regarding BNSF’s railyard, primarily over the last 10 years—though some requests are entirely

unbounded as to time. See generally Ex. B (RFP No. 2 (requesting various documents pertaining

to a 10-year historical period, and requesting other categories of documents without indicating any

time limitation)). The Court should issue a protective order because none of the requested

information is relevant to, or proportionate to the needs of, the resolution of BNSF’s Motion.




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               1.      Cicero’s discovery requests are not relevant to any of the Winter
                       factors.

                       (a)     Cicero’s discovery requests are not relevant to the discriminatory
                               nature of Cicero’s Ordinance.

       Regarding BNSF’s likelihood of success on the merits, BNSF argues that the Ordinance is

preempted by federal law. If characterized as a “fee,” the ordinance fails under the ICCTA because,

rather than address state and local concerns generally, it singles out “Railroad yards and rights-of-

way” for disfavored treatment. If characterized as a “tax,” the ordinance violates the 4-R Act,

which prohibits localities from imposing “another tax that discriminates against a rail carrier.” 49

U.S.C. § 11501(b)(4); see Mem. in Supp. at 8-12. The gravamen of BNSF’s claims is that Cicero

has engaged in, and continues to engage in, discriminatory conduct by enacting and seeking to

enforce the Ordinance.

       The discovery Cicero seeks is not calculated to respond to these arguments. The

discrimination that violates federal law is plain on the face of the Sewer Rate Ordinance, which

targets railroads for a discriminatory sewer rate increase that is calculated based on acreage, while

maintaining rates for other local commercial and industrial users that are based on monthly water

use. The information sought by Cicero’s discovery requests bears no relationship to the

discriminatory Ordinance as written. Regardless of any response that might be provided by BNSF,

the actual Ordinance enacted by Cicero would still be discriminatory because it imposes an

exorbitant and differential burden on BNSF and not on other ratepayers.

       In fact, Cicero seeks discovery of information that it did not possess previously. By

definition, Cicero could not have relied on such information when it developed the rate increase;

it is not possible that information that Cicero did not know or consider prior to developing the

Ordinance could render the facially discriminatory Ordinance lawful. At best, the requests are a

post hoc attempt to develop a pretextual justification for the rate increase and, thus, they are


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irrelevant to the issue of whether the rate increase was discriminatory. Even if Cicero could

establish that BNSF imposes an unusual burden on the sewer system, the Ordinance is not written

to charge extra in proportion to BNSF’s burden on the sewer system; it is written to charge extra

to railyards, and railyards alone, based on acreage, while charging other users based on their actual

water use. If anything, the fact that Cicero is asking for this information (and not, for example,

propounding requests for admission on matters it already knows) underscores BNSF’s allegation

that little or no analysis supports this amendment to the Ordinance.

                       (b)     Cicero’s discovery requests are not relevant to the irreparable
                               harm that BNSF identified in its Motion.

         Next, BNSF argues it will suffer irreparable harm in the form of business disruption, loss

of goodwill, continued violations of its Constitutional rights, and impairment of its property rights.

See Mem. in Supp. at 12-14. None of Cicero’s discovery requests seeks information related to

BNSF’s future business disruption, future loss of goodwill, or future violations of BNSF’s

constitutional rights. Instead, Cicero’s discovery requests seek historical information about

BNSF’s railyard, including over “the last 10 years.” See Ex. B (RFP Nos. 1, 3-5); Ex. A (Interrog.

Nos. 1-3). Information responsive to those requests regarding the last 10 years cannot be relevant

to BNSF’s argument that it will suffer future irreparable harm if it is not granted a restraining

order.

                       (c)     Cicero’s discovery requests are not relevant to the equities or
                               public interest.

         BNSF’s brief and supporting declarations argue that the equities and public interest are

served when the supremacy of federal law is vindicated, Mem. in Supp. at 14-15, and that BNSF’s

continued operations serve the public interest in myriad ways, including by connecting various

origin and destination points in interstate commerce, employing hundreds of workers, benefitting

public infrastructure by carrying freight cars by rail rather than on the public highways, and helping


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the environment because trucks are significantly less fuel-efficient than railroads. Id. at 15. None

of BNSF’s arguments about equities or public interests is addressed by any of Cicero’s discovery

requests, and therefore the information cannot be relevant to the equities or public interest factors

that BNSF has identified as relevant to the Motion.

       Because Cicero’s discovery requests do not seek any information that is relevant to the

arguments presented in BNSF’s Motion, this Court should enter a protective order against any

requirement to respond to any Cicero’s discovery requests.

       B.      Cicero’s discovery requests are unduly burdensome and therefore not
               proportional to the needs of this case.

       Cicero’s requests are overbroad in terms of the categories of information and documents

addressed as well as the extensive time periods encompassed. For example, Cicero requests all

information and any documents pertaining to any railyard “construction, maintenance, repairs, or

restorations,” and corresponding permits, “environmental studies, reports, assessments, audits,

plans, diagrams, or other documents” over the past 10 years (Ex. A, Interrogatories Nos. 1-3; Ex.

B, RFP No. 1), as well as all information pertaining to any type of flooding at the railyard with no

historical time limit and any documents pertaining to flooding or drainage problems at the railyard

over the past 10 years (Ex. A, Interrogatory No. 4; Ex. B, RFP Nos. 4, 5). Because none of the

information sought is relevant to the issues presented by the Motion, the burden that would fall to

BNSF in obtaining, reviewing, and producing at least 10 years’ worth of historical information

and records about its Cicero railyard within 7 days outweighs any benefit that would be provided

to Cicero. See Fed. R. Civ. P. 26(b)(1) (measuring proportionality, in part, by “whether the burden

or expense of the proposed discovery outweighs its likely benefit”). The information sought by

Cicero’s discovery requests is not proportional to the needs of the case because it does not address

the issues at stake. The unconstrained nature of the requests as to the types of information and



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documents sought as well as the time periods addressed underscores that the burden of the

discovery is not justified given the irrelevance of the discovery to the resolution of the issues

presently before the Court.

       WHEREFORE, for all of the foregoing reasons, BNSF requests a Protective Order against

any requirement that it respond to Cicero’s discovery requests.


Dated: June 29, 2021                              Respectfully submitted,

                                                  BNSF RAILWAY COMPANY,

                                                  By: /s/ Renato Mariotti

                                                  Renato Mariotti
                                                  Holly H. Campbell
                                                  THOMPSON COBURN LLP
                                                  55 East Monroe, 37th Floor
                                                  Chicago, Illinois 60603
                                                  312.346.7500
                                                  rmariotti@thompsoncoburn.com
                                                  hcampbell@thompsoncoburn.com

                                                  Sara L. Chamberlain
                                                  THOMPSON COBURN LLP
                                                  One US Bank Plaza
                                                  St. Louis, Missouri 63101
                                                  314.552.6000
                                                  schamberlain@thompsoncoburn.com

                                                  Benjamin J. Horwich (pro hac vice)
                                                  Teresa A. Reed Dippo (pro hac vice)
                                                  Rebecca L. Sciarrino (pro hac vice)
                                                  MUNGER, TOLLES & OLSON LLP
                                                  560 Mission Street, Twenty-Seventh Floor
                                                  San Francisco, California 94105
                                                  415.512.4000
                                                  ben.horwich@mto.com
                                                  teresa.reeddippo@mto.com
                                                  rebecca.sciarrino@mto.com

                                                  Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I, Renato Mariotti, hereby certify that on June 29, 2021, I electronically filed the foregoing
Plaintiff’s Motion for Protective Order with the Clerk of the Court, using the CM/ECF system,
which sent notification of such filing to all counsel of record in this matter.

                                                      /s/ Renato Mariotti




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